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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

KIRK MICHAEL FIELDS,                           )
                                               )
      Plaintiff,                               )
                                               ) CIVIL ACTION FILE NO.
                                               ) 1:22-cv-03684-LMM-JKL
v.                                             )
                                               )
GWINNETT COUNTY POLICE                         )
DEPARTMENT, ARIEL STEWART,                     )
WAYNE JOHNSON, ROINELL LEWIS,                  )
CHRISTIAN D’ALLAIRD,                           )
KYLE HOWSE, & KAYELYN LEWIS,                   )
                                               )
      Defendants.                              )

               ANSWER AND AFFIRMATIVE DEFENSES OF
                KYLE HOWSE TO AMENDED COMPLAINT
                     FILED ON SEPTEMBER 9, 2024

      COMES NOW Kyle Howse, a named Defendant herein, and files this, his

Answer and Defenses to the claims in Plaintiff’s September 9, 2024 Amended

Complaint [Doc. 75], showing the Court as follows:

                                FIRST DEFENSE

      Plaintiff's Amended Complaint fails to state a claim upon which relief can be

granted under either Georgia or federal law.
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                               SECOND DEFENSE

      Plaintiff’s Amended Complaint should be dismissed for failure to perfect

timely service of process.

                                 THIRD DEFENSE

      Plaintiff's federal claims against this Defendant are barred in whole or in part

by the doctrine of qualified immunity. Plaintiff's state-law claims against this

Defendant are barred in whole or part by the doctrines of sovereign immunity, official

immunity, and discretionary act immunity pursuant to the Georgia Constitution and

the laws of the State of Georgia.

                               FOURTH DEFENSE

      The state-law claims against this Defendant should be dismissed, because

Plaintiff failed to give an ante litem notice as required by Georgia law as a

prerequisite to bringing the state-law claims set forth in the Amended Complaint.

                                    FIFTH DEFENSE

      No act or omission on the part of this Defendant proximately caused or

contributed to any damages Plaintiff claims to have sustained.

                                 SIXTH DEFENSE

      Plaintiff’s allegations do not support a claim for relief under 42 U.S.C. §1983,

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as any deprivation alleged therein does not rise to the level of a constitutional or

federal law violation.

                                 SEVENTH DEFENSE

      Any force used was justified due to Plaintiff’s initiated and exhibited behavior

so as to be a danger to himself and/or others.

                                 EIGHTH DEFENSE

      All applications of force were reasonable under the totality of the

circumstances.

                                  NINTH DEFENSE

      This Defendant has not violated any rights, privileges, or immunities under the

Constitution or laws of the United States or the State of Georgia or any political

subdivision thereof, nor has this Defendant violated any act of Congress providing

for the protection of civil rights.

                                  TENTH DEFENSE

      This Defendant breached no duty to the Plaintiff with regard to the alleged

claims against this Defendant.

                               ELEVENTH DEFENSE

      To the extent Plaintiff seeks damages, monetary recovery, and/or attorney’s

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fees under state law and/or the Constitution of the State of Georgia against this

Defendant, such claims are barred because this Defendant was at all relevant times

acting in a good faith performance of his discretionary duties.

                               TWELFTH DEFENSE

      Plaintiff’s alleged claims for injuries and damages are barred in whole or in

part because Plaintiff’s actions and activities contributed in whole or in part to

Plaintiff’s alleged injuries or damages.

                             THIRTEENTH DEFENSE

      Plaintiff’s alleged claims for excessive force are barred because Plaintiff has

failed to allege and cannot show that any actions of this Defendant with regard to

Plaintiff were unreasonable or in bad faith.

                            FOURTEENTH DEFENSE

      Plaintiff’s alleged claims against this Defendant herein are barred, because this

Defendant acted in good faith and without malice at all times relevant to Plaintiff’s

allegations.

                              FIFTEENTH DEFENSE

      Plaintiff has failed to exhaust his remedies as may be required under the law.

This is especially true regarding Plaintiff’s false arrest and excessive force claims,

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since Plaintiff entered a guilty plea to three counts of obstruction.

                              SIXTEENTH DEFENSE

      This Defendant asserts any and all affirmative defenses set forth in Rule 8(c)(1)

of the Federal Rules of Civil Procedure that are or may hereafter be applicable to this

action.

                            SEVENTEENTH DEFENSE

      This Defendant denies that he is liable to Plaintiff for any claims made in the

Amended Complaint, and responds to the enumerated paragraphs of the Amended

Complaint as follows:

                              Preliminary Statement

                                          1.

      The allegations set forth in Paragraph 1 are denied.

                                          2.

      The allegations against this Defendant set forth in Paragraph 2 are denied. This

Defendant is without knowledge regarding any allegation concerning another

Defendant; as such said allegations stand denied.



                           (continued on following page)

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                                       Parties

                                         3.

      This Defendant is without sufficient knowledge to either admit or deny the

allegations set forth in Paragraph 3, and as such, said allegations stand denied.

                                         4.

      The allegations in Paragraph 4 do not address this Defendant and therefore do

not require a response from this Defendant. However, to the extent the statements in

Paragraph 4 could be construed as making any reference to any matter relating to this

Defendant and/or an allegation/claim against this Defendant, those statements and

allegations/claims are denied.

                                         5.

      The allegations in Paragraph 5 do not address this Defendant and therefore do

not require a response from this Defendant. However, to the extent the statements in

Paragraph 5 could be construed as making any reference to any matter relating to this

Defendant and/or an allegation/claim against this Defendant, those statements and

allegations/claims are denied.

                                         6.

      The allegations in Paragraph 6 do not address this Defendant and therefore do

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not require a response from this Defendant. However, to the extent the statements in

Paragraph 6 could be construed as making any reference to any matter relating to this

Defendant and/or an allegation/claim against this Defendant, those statements and

allegations/claims are denied.

                                         7.

      The allegations in Paragraph 7 do not address this Defendant and therefore do

not require a response from this Defendant. However, to the extent the statements in

Paragraph 7 could be construed as making any reference to any matter relating to this

Defendant and/or an allegation/claim against this Defendant, those statements and

allegations/claims are denied.

                                         8.

      The allegations in Paragraph 8 do not address this Defendant and therefore do

not require a response from this Defendant. However, to the extent the statements in

Paragraph 8 could be construed as making any reference to any matter relating to this

Defendant and/or an allegation/claim against this Defendant, those statements and

allegations/claims are denied.

                                         9.

      This Defendant admits the allegations contained in the first sentence of

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Paragraph 9; all remaining allegations in said paragraph are denied.

                                        10.

      The allegations in Paragraph 10 do not address this Defendant and therefore

do not require a response from this Defendant. However, to the extent the statements

in Paragraph 10 could be construed as making any reference to any matter relating to

this Defendant and/or an allegation/claim against this Defendant, those statements

and allegations/claims are denied.

                             Jurisdiction and Venue

                                        11.

      This Defendant denies as stated the allegations set forth in Paragraph 11.

                                        12.

      This Defendant denies as stated the allegations set forth in Paragraph 12.

                                        13.

      This Defendant denies as stated the allegations set forth in Paragraph 13.

                                        14.

      This Defendant denies as stated the allegations set forth in Paragraph 14.

                                        15.

      This Defendant denies as stated the allegations set forth in Paragraph 15.

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                                         16.

      This Defendant denies as stated the allegations set forth in Paragraph 16.

                                Factual Allegations

A. The Department’s Policies

                                         17.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 17

are denied as stated.

                                         18.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 18

are denied as stated.

                                         19.

      This Defendant admits that any policy of the Gwinnett County Police

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Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 19

are denied as stated.

                                         20.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 20

are denied as stated.

                                         21.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 21

are denied as stated.

                                         22.

      This Defendant admits that any policy of the Gwinnett County Police

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Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 22

are denied as stated.

                                         23.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 23

are denied as stated.

                                         24.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 24

are denied as stated.

                                         25.

      This Defendant admits that any policy of the Gwinnett County Police

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Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 25

are denied as stated.

                                         26.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 26

are denied as stated.

                                         27.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 27

are denied as stated.

                                         28.

      This Defendant admits that any policy of the Gwinnett County Police

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Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 28

are denied as stated.

                                         29.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 29

are denied as stated.

                                         30.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 30

are denied as stated.

                                         31.

      This Defendant admits that any policy of the Gwinnett County Police

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Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 31

are denied as stated.

                                         32.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 32

are denied as stated.

                                         33.

      This Defendant admits that any policy of the Gwinnett County Police

Department speaks for itself, and this Defendant denies any attempt by Plaintiff to

characterize, summarize, reword, or otherwise improperly assign import to any

particular part of any such policy. As such, the allegations contained in Paragraph 33

are denied as stated.



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B. The June 2021 Arrest

                                        34-65.

      Plaintiff states on page 13 of 23 of the Amended Complaint in the title prior to

Count I that any claims for relief regarding Plaintiff’s June, 2021 arrest are not made

against this Defendant. As such, the allegations set forth in Paragraphs 34-65 do not

address this Defendant and therefore do not require a response from this Defendant.

However, to the extent any statement in Paragraphs 34-65 could be construed as

making any reference to any matter relating to this Defendant and/or an

allegation/claim against this Defendant, any such statement and allegation/claim are

denied.

C. The March 2022 Arrest

                                          66.

      This Defendant admits that Plaintiff built a fire on the side of Lawrenceville

Suwanee Road in Gwinnett County on or about March 24, 2022; any and all other

allegations in Paragraph 66 are denied.

                                          67.

      This Defendant admits that Defendant D’Allaird spoke to Plaintiff at the scene

described in Paragraph 66 of this Defendant’s Answer herein. Any and all other

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allegations in Paragraph 67 are denied.

                                          68.

      The allegations in Paragraph 68 are denied.

                                          69.

      The allegations in Paragraph 69 are denied as stated.

                                          70.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 70; as such, said allegations stand denied.

                                          71.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 71; as such, said allegations stand denied.

                                          72.

      The allegations in Paragraph 72 are denied as stated.

                                          73.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 73; as such, said allegations stand denied.

                                          74.

      This Defendant admits that Gwinnett County Fire Department personnel were

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at the scene described in Paragraph 66 of this Defendant’s Answer herein and

extinguished the fire built by Plaintiff; any and all other allegations in Paragraph 74

are denied.

                                         75.

      The allegations in Paragraph 75 are denied as stated.

                                         76.

      The allegations in Paragraph 76 are denied as stated.

                                         77.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 77; as such, said allegations stand denied.

                                         78.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 78; as such, said allegations stand denied.

                                         79.

      This Defendant admits that after Defendant D’Allaird arrived, this Defendant

arrived at the scene described in Paragraph 66 of this Defendant’s Answer herein.

Any and all other allegations in Paragraph 79 are denied.




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                                       80.

      The allegations of Paragraph 80 are denied as stated.

                                       81.

      The allegations of Paragraph 81 are denied as stated.

                                       82.

      The allegations of Paragraph 82 are denied as stated.

                                       83.

      The allegations of Paragraph 83 are denied as stated.

                                       84.

      The allegations of Paragraph 84 are denied as stated.

                                       85.

      The allegations of Paragraph 85 are denied as stated.

                                       86.

      The allegations of Paragraph 86 are denied as stated.

                                       87.

      This Defendant admits that Defendant K. Lewis arrived at the scene described

in Paragraph 66 of this Defendant’s Answer herein. Any and all other allegations of

Paragraph 87 are denied.

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                                  88.

 The allegations of Paragraph 88 are denied as stated.

                                  89.

 The allegations of Paragraph 89 are admitted.

                                  90.

 The allegations of Paragraph 90 are denied as stated.

                                  91.

 The allegations of Paragraph 91 are denied as stated.

                                  92.

 The allegations of Paragraph 92 are denied as stated.

                                  93.

 The allegations of Paragraph 93 are denied as stated.

                                  94.

 The allegations of Paragraph 94 are denied as stated.

                                  95.

 The allegations of Paragraph 95 are denied as stated.

                                  96.

 The allegations of Paragraph 96 are denied as stated.

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                                   97.

 The allegations of Paragraph 97are denied.

                                   98.

 The allegations of Paragraph 98 are denied as stated.

                                   99.

 The allegations of Paragraph 99 are denied as stated.

                                  100.

 The allegations of Paragraph 100 are admitted.

                                  101.

 The allegations of Paragraph 101 are denied as stated.

                                  102.

 The allegations of Paragraph 102 are denied as stated.

                                  103.

 The allegations of Paragraph 103 are denied.

                                  104.

 The allegations of Paragraph 104 are denied.

                                  105.

 This Defendant admits that he is not in possession of any record regarding any

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other Defendant’s training and/or certifications; any and all other allegations set forth

in Paragraph 105 are denied.

                                          106.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 106; as such any and all such allegations stand denied.

                                          107.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 107; as such any and all such allegations stand denied.

                                          108.

      The allegations of Paragraph 108 are denied as stated.

                     Claims for Relief - June 2021 Arrest
       (Against the Department & Defendant Stewart, Johnson & R. Lewis)

Count I: False Arrest

                                       109-155.

      Plaintiff states on page 13 of 23 of the Amended Complaint in the title prior to

Count I that any claims for relief regarding Plaintiff’s June, 2021 arrest are not made

against this Defendant. As such, the allegations and claim set forth in Paragraphs

109-155 do not address this Defendant and therefore do not require a response from


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this Defendant. However, to the extent any statement in Paragraphs 109-155 could

be construed as making any reference to any matter relating to this Defendant and/or

an allegation/claim against this Defendant, any such statement and allegation/claim

are denied.

                    Claims for Relief - March 2022 Arrest
        (Against Department & Defendants Howse, D’Allaird, & K. Lewis)

Count V: False Arrest

                                        156.

       This Defendant’s defenses and responses to Paragraphs 1-155 are incorporated

as if fully set forth herein.

                                        157.

       This Defendant states that case authority speaks for itself, and this Defendant

denies any attempt by Plaintiff to characterize, summarize, reword, or otherwise

improperly assign import to any particular part of any such case authority. As such,

the allegations contained in Paragraph 157 are denied as stated.

                                        158.

       The allegations set forth in Paragraph 158 are admitted.




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                                  159.

 The allegations set forth in Paragraph 159 are denied.

                                  160.

 The allegations set forth in Paragraph 160 are denied.

                                  161.

 The allegations set forth in Paragraph 161 are denied.

                                  162.

 The allegations set forth in Paragraph 162 are admitted.

                                  163.

 The allegations set forth in Paragraph 163 are denied.

                                  164.

 The allegations set forth in Paragraph 164 are denied.

                                  165.

 The allegations set forth in Paragraph 165 are denied.

                                  166.

 The allegations set forth in Paragraph 166 are denied.

                                  167.

 The allegations set forth in Paragraph 167 are denied.

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                                        168.

       The allegations set forth in Paragraph 168 are denied.

Count VI: Excessive Force2

                                        169.

       This Defendant’s defenses and responses to Paragraphs 1-168 are incorporated

as if fully set forth herein.

                                        170.

       This Defendant states that case authority speaks for itself, and this Defendant

denies any attempt by Plaintiff to characterize, summarize, reword, or otherwise

improperly assign import to any particular part of any such case authority. As such,

the allegations contained in Paragraph 170 are denied as stated.

                                        171.

       The allegations set forth in Paragraph 171 are admitted.

       2
        The Defendant denies that Plaintiff has a proper claim set forth in either
Count V or Count VI. This Defendant admits that Plaintiff’s March 2022 arrest
was lawful. Otherwise, this Defendant states that case authority speaks for itself,
and this Defendant denies any attempt by Plaintiff to characterize, summarize,
reword, or otherwise improperly assign import to any particular part of any such
case authority. As such, the remaining allegations contained in footnote 2 are
denied as stated.



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                                       172.

      The allegations set forth in Paragraph 172 are denied.

                                       173.

      The allegations set forth in Paragraph 173 are denied.

                                       174.

      The allegations set forth in Paragraph 174 are denied.

                                       175.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 175; as such, said allegations stand denied.

                                       176.

      This Defendant is without knowledge regarding the allegations set forth in

Paragraph 176; as such, said allegations stand denied.

                                       177.

      The allegations set forth in Paragraph 177 are denied.

                                       178.

      The allegations set forth in Paragraph 178 are denied.

                                       179.

      The allegations set forth in Paragraph 179 are denied.

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                                       180.

      The allegations set forth in Paragraph 180 are denied.

                                       181.

      The allegations set forth in Paragraph 181 are denied.

                                       182.

      The allegations set forth in Paragraph 182 are denied.

                                       183.

      The allegations set forth in Paragraph 183 are denied.

Count VII: Deprivation of Property

                                       184.

      This Defendant states that case authority speaks for itself, and this Defendant

denies any attempt by Plaintiff to characterize, summarize, reword, or otherwise

improperly assign import to any particular part of any such case authority. As such,

the allegations contained in Paragraph 184 are denied as stated.

                                       185.

      The allegations set forth in Paragraph 185 are admitted.

                                       186.

      The allegations set forth in Paragraph 186 are denied.

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                                        187.

      The allegations set forth in Paragraph 187 are denied.

                                        188.

      The allegations set forth in Paragraph 188 are denied.

                                        189.

      The allegations set forth in Paragraph 189 are denied.

                                        190.

      The allegations set forth in Paragraph 190 are denied.

                                        191.

      The allegations set forth in Paragraph 191 are denied.

                                        192.

      The allegations set forth in Paragraph 192 are denied.

Count VIII: Trespass to Personal Property

                                        193.

      This Defendant states that statutes and case authority speak for themselves, and

this Defendant denies any attempt by Plaintiff to characterize, summarize, reword, or

otherwise improperly assign import to any particular part of any such statute and/or

case authority. As such, the allegations contained in Paragraph 193 are denied as

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stated.

                                         194.

      This Defendant states that the referenced statute speaks for itself, and this

Defendant denies any attempt by Plaintiff to characterize, summarize, reword, or

otherwise improperly assign import to any particular part of said statute. As such, the

allegations contained in Paragraph 194 are denied as stated.

                                         195.

      The allegations set forth in Paragraph 195 are denied.

                                         196.

      The allegations set forth in Paragraph 196 are denied.

                                         197.

      The allegations set forth in Paragraph 197 are denied.

                                         198.

      The allegations set forth in Paragraph 198 are denied.

                                         199.

      The allegations set forth in Paragraph 199 are denied.

                                  Prayer for Relief

      In further response to Plaintiff’s Amended Complaint, this Defendant denies

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each and every allegation in the paragraphs of said Complaint not previously

responded to or admitted herein. This Defendant further denies the allegations

contained in Plaintiff’s prayers for relief and denies that Plaintiff is entitled to recover

any damages or other relief sought in his prayers for relief.

       WHEREFORE, this Defendant prays that he be discharged with all costs cast

against the Plaintiff.

       This 23rd day of September, 2024.

                                          CAROTHERS & MITCHELL, LLC

                                          /s/ Angela C. Couch
                                          Angela C. Couch
                                          Georgia Bar No. 190005
                                          Attorney for Defendant Kyle Howse
1809 Buford Highway
Buford, Georgia 30518
Phone: 770-932-3552
Fax: 770-932-6348
angela.couch@carmitch.com




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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

KIRK MICHAEL FIELDS,                       )
                                           )
      Plaintiff,                           )
                                           ) CIVIL ACTION FILE NO.
                                           ) 1:22-cv-03684-LMM-JKL
v.                                         )
                                           )
GWINNETT COUNTY POLICE                     )
DEPARTMENT, ARIEL STEWART,                 )
WAYNE JOHNSON, ROINELL LEWIS,              )
CHRISTIAN D’ALLAIRD,                       )
KYLE HOWSE, & KAYELYN LEWIS,               )
                                           )
      Defendants.                          )

                       CERTIFICATE OF SERVICE AND
                        COMPLIANCE WITH L.R.5.1B

      I HEREBY CERTIFY that I have this date electronically filed the ANSWER

AND AFFIRMATIVE DEFENSES OF KYLE HOWSE TO AMENDED

COMPLAINT FILED ON SEPTEMBER 9, 2024 with the Clerk of the Court using

the CM/ECF system which will automatically send email notification of such filing

to the following attorneys of record:

                               Edwin Allen Page
                         Bondurant Mixon & Elmore LLP
                         One Atlantic Center, Suite 3900
                          1201 W. Peachtree Street NW
                             Atlanta, Georgia 30309
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      I further certify pursuant to L.R. 7.1D that the above-titled document complies

with L.R. 5.1B and was prepared using a 14 point Times New Roman font.

     This 23rd day of September, 2024.

                                      CAROTHERS & MITCHELL, LLC

                                      /s/ Angela C. Couch
                                      Angela C. Couch
                                      Georgia Bar No. 190005
                                      Attorney for Defendant Kyle Howse
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